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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    GERALD WILLIAMS,                                     CASE NO. C19-0444-JCC
10                            Plaintiff,                   MINUTE ORDER
11             v.

12    SONNY PERDUE,

13                            Defendant.
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15           The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17           This matter comes before the Court on Plaintiff’s unopposed motion for an extension of
18   time to respond to Defendant’s motion for partial summary judgment (Dkt. No. 41), and
19   Defendant’s response (Dkt. No. 42) in which Defendant moves for additional time to file its
20   reply. Plaintiff requests a 14-day extension of time to respond to Defendant’s motion for partial
21   summary judgment (Dkt. No. 33) because of Plaintiff’s counsel’s need to participate in a
22   mediation, another filing, and a pending appeal. (See Dkt. No. 41.) Defendant consents to the
23   extension but notes that the parties have agreed that if it is granted, Defendant should also
24   receive a 14-day extension of its deadline to reply to Plaintiff’s response. (See Dkt. No. 42 at 1.)
25   In addition to the agreed-upon extension, Defendant requests an additional seven days to file his
26   reply. (See id. at 2.)


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 1          Having considered the parties’ briefing and the relevant record, the Court GRANTS the

 2   motions and DIRECTS the clerk to renote Defendant’s motion for partial summary judgment

 3   (Dkt. No. 33) for November 13, 2020. Plaintiff’s response shall be filed no later than

 4   November 2, 2020.

 5          In the future, the parties are encouraged to implement agreed extensions on pending

 6   motions without the Court’s involvement by making use of Local Civil Rule 7(l) or, if the

 7   Court’s involvement is necessary, by filing a stipulated motion.

 8          DATED this 19th day of October 2020.
 9                                                          William M. McCool
                                                            Clerk of Court
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                                                            s/Tomas Hernandez
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                                                            Deputy Clerk
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